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                         EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No.

DEPARTMENT OF LABOR, et al.,

Defendants.



                         DECLARATION OF STEVEN K. URY, SEIU


I, Steven K. Ury, declare as follows:


     1. I am the General Counsel of the Service Employees International Union (“SEIU”). I

        submit this declaration in support of Plaintiffs’ application for a temporary restraining

        order in this matter. The statements made in this declaration are based on my personal

        knowledge, materials I have reviewed, and information made available to me pursuant to

        my duties at SEIU.


     2. SEIU is one of the largest labor unions in the United States with approximately 2 million

        members in healthcare, the public sector, and property services. SEIU fights for a world

        where all workers are valued and all people respected; where all families and

        communities can thrive; and where we leave a better and more equitable world for

        generations to come. SEIU has more than 150 local union affiliates.


     3. SEIU and its affiliate unions routinely engage with the Department of Labor and its

        agencies and programs in pursuit of our union’s mission to improve the lives of workers

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   and their families.


4. SEIU and its affiliate unions routinely bring complaints and claims under the various

   minimum working condition statutes enforced by the Department of Labor, including the

   Fair Labor Standards Act (“FLSA”) (minimum wages and overtime), to the Wage and

   Hour Division, and the Occupational Safety and Health Act, to the Occupational Safety

   and Health Administration.


5. For example, SEIU recently filed a wage-and-hour complaint on behalf of the Union of

   Southern Service Workers, a campaign of SEIU, against Waffle House for violations of

   the FLSA’s tip credit requirements. That complaint includes the identities of individual

   employees and the precise information they shared with us about their unlawful working

   conditions. These workers are economically vulnerable, struggling to make ends meet,

   and cannot afford to experience any retaliation by their employer should their identities

   become public. In our experience, employers have retaliated against workers who file

   labor complaints in many ways that affect their economic livelihood, including cutting

   their work hours, changing their schedules, or firing them altogether.


6. When we or our affiliates assist members with these claims, we are able to assure them

   that the Department of Labor will keep their identities and their complaints confidential.


7. The promise of confidentiality is an essential condition to encourage workers to come

   forward to share their experiences with union organizers, and agree to have their names

   included in complaints filed with government agencies such as the Department of Labor.

   If their names are publicized or shared with their employer, this disclosure will chill

   workers from coming forward to report violations of wage and hour laws, as well as other

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       labor laws enforced by the Department of Labor. Workers are already reluctant to come

       forward as it is, and this disclosure will discourage them further from filing complaints

       over their working conditions.


   8. Confidentiality is necessary for our ability to organize workers and represent our

       members. If workers are reluctant to come forward to report labor law violations, SEIU

       will be harmed in its ability to file persuasive complaints with government agencies such

       as the Department of Labor since we may have fewer workers willing to come forward to

       share their stories.

   9. Union organizers work hard to gain workers’ trust to encourage them to come forward to

       share their stories, and this trust will be broken if the confidentiality commitment is

       violated and the workers’ names and personal information are made public. This may

       have a negative impact on our future organizing campaigns.

   10. Workers may also have private causes of action under the same statutes enforced by the

       Department of Labor. If their names, allegations, and any evidence they have already

       shared confidentially with the Department of Labor are publicized, there could be a

       negative impact on their ability to vindicate their legal claims on their own in court.


   11. DOGE’s access to other government systems has been broadly publicized. Access to the

       Department of Labor systems will be devastating for the workers we represent and our

       ability to support them in seeking the protections of the country’s basic labor protections.

       This harm will occur even if DOGE is given access to the Department of Labor’s records

       concerning complaints and investigations for a short period of time.


I declare under penalty of perjury that the foregoing is true and correct.


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Executed on February 5, 2025, in Washington, DC.




                                                   /s/ Steven K. Ury______________
                                                          Steven K. Ury




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